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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   KENDRA MUNOZ,

                        Plaintiff,                      CIVIL ACTION FILE

   vs.                                                  NO. 1:16-cv-3924-MHC

   SELIG ENTERPRISES, INC.,

                        Defendant.

                                     JUDGMENT

         This action having come before the court, Honorable Mark H. Cohen, United States

District Judge, for consideration of the Magistrate Judge’s Final Report and

Recommendation and the Defendant’s Motion for Summary Judgment, and the court

having APPROVED and ADOPTED said recommendation and GRANTED said motion,

it is

         Ordered and Adjudged that the Plaintiff takes nothing; the Defendant recover its

costs of this action, and this action is hereby DISMISSED.

         Dated at Atlanta, Georgia, this 20th day of September, 2018.

                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By:    s/ B. Walker
                                                         Deputy Clerk

Prepared, Filed, and Entered
in the Clerk=s Office
September 20, 2018
James N. Hatten
Clerk of Court

By: s/ B. Walker
      Deputy Clerk
